    Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 1 of 12




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA, )
                          )
v.                        ) CASE NO. 1:20-CR-481-SCJ-RDC-3
                          )
ELIAYAH BENNETT, et. al.  )
    Defendant.            )

 DEFENDANT’S OBJECTION TO REPORT AND RECOMMENDATION

COMES NOW Eliayah Bennett (hereafter “Bennett”) though undersigned counsel,

and pursuant to 28 U.S.C. §636(b)(1), and Fed. R. Crim. P. 59(a) respectfully

makes the following objections to the Report and Recommendation (R&R) entered

in this matter on August 10, 2022 (See Doc. 131). For the reasons stated below, the

R&R should not be followed, and the seizure of items from Bennett’s residence an

bank accounts should be suppressed.

      Government agents unlawfully seized Bennett’s cell phone subscriber

information and toll records on or about November 3, 2020; bank records from

Wells Fargo on or about November 5, 2020, Bank of America, and JPMorgan

Chase on or about December 1, 2020; and personal property at her residence at

4420 Northside Chase NW, Atlanta on or about December 4, 2020 on the

speculative theory that she was involved in theft of funds from Charles Schwab.

The R&R recommended that Ms. Bennett’s motions to suppress be denied,

reasoning that (1) the search warrant affidavit for Bennett’s residence was
                                         1
    Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 2 of 12




supported by probable cause, and (2) that Bennett lacks standing to contest the

issuance of the subpoenas. (Doc. 131 at 14, 17).

      This Court should decline to follow the R&R. First, the R&R errs when it

concludes the affidavit of Postal Inspector Zito put forth enough details to support

probable cause to search her residence. (Doc. 131 at 14). The R&R erred when it

found that totality of the circumstances presented in the Affidavit allowed for a fair

probability that evidence for the misappropriation of funds from Charles Schwab

would be found in her residence. (Doc. 131 at 12). The R&R also erred when it

found that Inspector Zito’s affidavit established a nexus between the Bennett’s

residence and the items to be seized. (Id. at 12). The R&R erred when it concluded

that the scope of the warrant was not unconstitutionally broad. (Id. at 13). Finally,

the R&R erred when it concluded that Bennett didn’t have a privacy interest in her

bank and cell phone subscriber records enough to support a claim for protection

under the Fourth Amendment. (Id. at 17).

                               LEGAL STANDARD

      “A ruling on a motion to suppress presents a mixed question of law and

fact.” United States v. Zapata, 180 F.3d 1237, 1240 (11th Cir. 1999). This Court’s

review is de novo. See 28 U.S.C. §636(b)(1) (“A judge of the court shall make a de

novo determination of those portions of the report or specified proposed findings

or recommendations to which objection is made.”).


                                          2
    Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 3 of 12




                                   OBJECTIONS

      I.     THE TOTALITY OF THE CIRCUMSTANCES DON’T

             SUPPORT PROBABLE CAUSE FOR THE SEARCH

             WARRANT.

             a. The Affidavit For The Warrant Shows No Criminal Activity of

                Bennett’s.

      The R&R states that Bennett’s assertion in her motion that the Affidavit

doesn’t show any criminal activity on her part is inaccurate. (Doc. 131 at 10). It

proposed that Ms. Bennett’s alleged presence during “these transactions,” her

phone contact with Mr. Cofield, and her alleged “adopting a fictious persona”

counteracted her claim that the affidavit lacks evidence of her participation in a

conspiracy regarding the funds lost by Charles Schwab. (Id. at 11-12). The R&R

takes it as a given that these circumstances are enough to show that she “probably

engaged in the suspected criminal activity” for the purpose of probable cause. (Id.

at 12). However, nothing about these circumstances are inherently criminal.

Bennett objects to that conclusion and offers that her assertion that the affidavit

fails to show criminal activity on her part is accurate for several reasons.

      Inspector Zito in the affidavit avers that ‘Indiana’ is a known alias for

Bennett without elaboration and speaks about Bennett’s marriage to Cofield as a

mere claim and not factual without alleging any evidence to support either premise


                                           3
     Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 4 of 12




(Ex. B at 10). The R&R considered this evidence that “she disguised her identity

by adopting a fictious persona when she transported Mr. Bennett” without any

basis in the affidavit or in fact. (Doc. 131 at 11). Inspector Zito also stated in

support of his affidavit that Bennett was listed with the Georgia Department of

Corrections as an emergency contact for Mr. Cofield, that she was approved to

handle his finances while he remained incarcerated, and that she remained in

contact with Mr. Cofield throughout the period that the incidents alleged in the

indictment occurred. (Ex. B at 10).

      There’s nothing inherently suspicious about Bennett being in contact with

her husband at any time. The first part of an analysis of probable cause relies on a

determination of the historical facts. Ornelas v. United States, 517 U.S. 690, 696

(1996). The determination of probable cause also relies on law enforcement having

reasonable, trustworthy information. Beck v. Ohio, 379 U.S. 89, 91 (1964), United

States v. Betancourt, 734 F.2d 750, 754 (11th Cir. 1984). The assertions made by

Inv. Zito in this regard amount to bare conclusions not based on historical facts that




                                            4
     Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 5 of 12




are reasonably trustworthy. They should be disregarded in the Court’s analysis of

the affidavit and warrant.

             b. There’s No Nexus Between Bennett’s Residence and the

                Alleged Crimes.

      The R&R cites Bennett’s “illegal conduct” as part of its justification for

finding a nexus between her residence and the crimes she’s alleged to have

committed. (Doc. 131 at 12). However, there is no evidence presented by Inv. Zito

in his affidavit that Ms. Bennett was in possession of stolen material or otherwise

engaging in illegal activity at her residence at 4420 Northside Chase NW. The only

information cited in the R&R that pertains to this address at all is that it was

Bennett’s residence around the time of the purchase of 4099 Randall Mill Road

described in the affidavit and that the owner of said property, Zembillas, met her

there to collect part of the down payment for the property. (Id at 11-12).

      At the time of the affidavit and execution of the warrant, Inv. Zito had no

specific information that any gold coins were on the premises of at 4420 Northside

Chase NW or any cash proceeds. Nor did he articulate how any cell phones or

other electronic devices used to communicate with co-defendant Cofield were

being used to further any criminal enterprise. Again, Bennett and Cofield were

known to be very close and in frequent communication but there was no

information that any of these communications with Bennett were furthering any


                                           5
     Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 6 of 12




criminal enterprise. “The connection between the residence and the evidence of

criminal activity must be specific and concrete” and not vague or generalized.

United States v. Brown, 828 F.3d 375, 382 (6th Cir. 2016). Inv. Zito may have had

a vague hunch that the cash given to the seller Zembillas was connected to the theft

of funds from Charles Schwab and its conversion to gold. However, such a hunch

completely disregarded the more likely possibility that the money was earned by

Bennett through her employment, which is never discussed by Zito in the warrant

or affidavit. The R&R erroneously concluded it was likely that evidence of stolen

material was possessed by Bennett at her residence.

             c. The Scope Of The Search Warrant Was Unconstitutionally

                Broad

      The R&R concluded that the scope of the warrant wasn’t unconstitutionally

broad. The Fourth Amendment’s requirement that search warrants particularly

describe the places to be searched and the things to be seized protects individuals

from oppressive general warrants. United States v. Travers, 233 F.3d 1327 (2000)

(warrant executed in case involving mail fraud and money laundering permitting

officers to search for “all documents involving real estate, litigation, property,

mailings, photographs and any other material reflecting identity, and anything

reflecting potential fraud” found to be overly broad). While the ‘good faith’

exception to the exclusionary rule may be applied to a search done pursuant to an


                                           6
    Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 7 of 12




overbroad warrant, it is not available where “the warrant is so overly broad on its

face that the executing officers could not reasonably have presumed it to be valid.

United States v. Travers, 233 F.3d at 1329-1330, citing United States v. Accardo,

749 F.2d 1477 (11th Cir. 1985).

      The list of items to be seized attached to the search warrant for Bennett’s

residence at 4420 Northside Chase NW included “Books, records, receipts, notes,

correspondence, ledgers, and other documents and/or papers relating to financial

transactions;” “Evidence related to any bank records, checks, credit card bills,

account information, and other financial records, which may be associated with the

proceeds of fraudulent activity;” “Financial statements/records, loan records,

payment journals, signature cards, keys and/or other items/records identifying

assets or evidencing legitimate income (or the lack thereof); general living

expenses; the obtaining, secreting, transferring, and/or concealing of assets; and the

obtaining secreting, transferring, concealing and/or spending of money;” as well as

defining “the terms records, documents, programs, applications, or materials

includes records, documents, programs, applications, or materials created,

modified, or stored in any form, including data stored on laptop, desktop, and

tablet computers, cellular phones, and electronic storage devices such as hard

drives and thumb drives.” (Ex. A, Attachment B at 1-2) The listed items “cut a

wide swath through [Bennett’s] papers and documents” like the one determined to


                                          7
    Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 8 of 12




be overly broad in Travers. United States v Travers, 233 F.3d at 1330. They’re

especially ironic considering that law enforcement had already subpoenaed all of

her known bank records in the month preceding the issuance of this warrant, and in

the case of her Wells Fargo and JPMorgan Chase records, for several preceding

years. (Doc 117 at 2). The R&R’s conclusion that “the scope of the warrant wasn’t

unconstitutionally broad” (Doc. 131 at 13) must be rejected.

      II.   MS. BENNETT HAD A PRIVACY INTEREST IN HER BANK

            AND CELL PHONE SUBSCRIBER RECORDS AND THE

            GOVERNMENT WAS REQUIRED TO GET A WARRANT TO

            SEARCH THEM.

            a. Ms. Bennett Had Standing To Contest The Issuance Of The

                Subpoenas.

      The R&R erred when it concluded that Bennett lacked standing to challenge

the subpoenas for her bank records and her cell phone subscriber records. (Doc.

131 at 17). Recent decisions by the U.S. Supreme Court such as United States v.

Jones, 565 U.S. 400 (2012) (Sotomayor, concurring. Installation of a GPS tracking

device on a vehicle without a warrant and without the owner’s consent invaded his

privacy interest in his vehicle, implicating Fourth Amendment Protections.), Riley

v. California, 573 U.S. 373, (2014) (Police may not search digital information

contained in the cell phone of an arrested person without a warrant.) and


                                         8
    Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 9 of 12




Carpernter v. United States, 138 S. Ct. 2206 (2018) (An individual has an

expectation of privacy in Cell Site Location Information obtained from third-party

cellular data providers and acquisition of such records is a search under the Fourth

Amendment) have expanded the areas that individuals enjoy a reasonable

expectation of privacy. Though the Court in Carpenter declined to specifically

overrule their previous decisions in United States v. Miller, 425 U.S. 435 (1976)

(No legitimate expectation of privacy in a person’s financial records held by a

bank) and Smith v. Maryland, 442 U.S. 735 (1979) (A person has no legitimate

expectation of privacy in the phone numbers they dial that are recorded by a pen

register held by the telephone carrier), it cannot be denied that advancing

technological developments since the holding in Smith are causing the Court to

reconsider how it applies the third party doctrine. Carpenter v. U.S., 138 S.Ct. at

2217.

        Acknowledging this reality, Justice Gorsuch in his separate dissent in

Carpenter suggested a new paradigm in Fourth Amendment jurisprudence that

returns consideration of an individual’s protected interests to one more aligned

with an older line of cases that confers Fourth Amendment protection based on and

individual’s property interests. Carpenter at 2268. “Whatever may be left of Smith

and Miller, few doubt that e-mail should be treated much like the traditional mail it

has largely supplanted – as a bailment in which the owner retains a vital and


                                           9
    Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 10 of 12




protected legal interest.” Id. And like email, the record of financial transactions

made electronically held by Bennett’s banks, as well as records of phone calls she

made held by wireless carriers, should be treated like a bailment where she retains

a vital and protected legal interest. “Under this more traditional approach, Fourth

Amendment protections for your papers and effects do not automatically disappear

just because you share them with third parties.” Id. The R&R therefor wrongfully

denied Bennett’s assertion of Fourth Amendment protection for her records and her

motion to suppress evidence obtained from JPMorgan Chase, Wells Fargo, Bank of

America, and AT&T. (Doc. 131 at 17-18). The R&R, in a footnote, also

wrongfully denied her request to conduct an evidentiary hearing to address all her

claims. (Doc. 131 at 3, n.2)

                                  CONCLUSION

      For the foregoing reasons, Defendant respectfully objects to the Magistrate

Judge’s R&R. The Defendant prays that the Court conduct an evidentiary hearing

to address these claims and grant her Motions To Suppress.




                                          10
   Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 11 of 12




      This 24 day of August 2022.

                              Respectfully submitted,


                              /S/ Bruce Harvey____________________
                              LAW OFFICES OF BRUCE S. HARVEY
                              ATTORNEYS FOR DEFENDANT
                              Bruce S. Harvey, #335175
                              bruce@bharveylawfirm.com
                              Jamie Roberts, #608590
                              jamie@bharveylawfirm.com

146 Nassau St.NW
Atlanta, GA 30303
(404) 659-4628 office
(404) 681-3953 fax




                                      11
    Case 1:20-cr-00481-SCJ-RDC Document 135 Filed 08/24/22 Page 12 of 12




                            CERTIFICATE OF SERVICE

      I certify that I served a copy of the foregoing Defendant’s Objection To

Report And Recommendation on opposing counsel by facsimile transmission,

electronic delivery, by hand delivery, or by depositing a copy of the same in the

United States Mail with sufficient postage thereon, addressed as follows:

                             Irina K. Dutcher, AUSA
                          75 Ted Turner Drive , Suite 600
                              Atlanta, Georgia 30303

      This 24 day of August 2022.


                                Respectfully submitted,


                                /S/ Bruce Harvey____________________
                                LAW OFFICES OF BRUCE S. HARVEY
                                ATTORNEYS FOR DEFENDANT
                                Bruce S. Harvey, #335175
                                bruce@bharveylawfirm.com
                                Jamie Roberts, #608590
                                jamie@bharveylawfirm.com

146 Nassau St.NW
Atlanta, GA 30303
(404) 659-4628 office
(404) 681-3953 fax




                                         12
